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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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       SEMICONDUCTOR ENERGY
  12   LABORATORY CO., LTD.,
  13                     Plaintiff,
                                               Case No. 8:21ícví00554íJAKíADS
  14               vs.
  15   TCL CHINA STAR
       OPTOELECTRONICS                         (MODIFIED) PROTECTIVE
  16   TECHNOLOGY CO., LTD.; TCL               ORDER FOR PATENT CASES
       TECHNOLOGY GROUP                        ASSIGNED TO JUDGE JOHN A.
  17   CORPORATION; TTE                        KRONSTADT
       TECHNOLOGY, INC.; TCL
  18   COMMUNICATION TECHNOLOGY
       HOLDINGS LIMITED; TCT MOBILE,           [Discovery Document: Referred to
  19   INC.; AND TCT MOBILE (US) INC.          Magistrate Judge Autumn D. Spaeth]
  20                     Defendants.
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                                                          (MODIFIED) PROTECTIVE ORDER
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   1         1.            PURPOSE AND LIMITS OF THIS ORDER
   2         Discovery in this action is likely to involve confidential, proprietary or
   3   private information requiring special protection from public disclosure and from
   4   use for any purpose other than this litigation. Thus, the Court enters this Protective
   5   Order. This Order does not confer blanket protections on all disclosures or
   6   responses to discovery, and the protection it gives from public disclosure and use
   7   extends only to the specific material entitled to confidential treatment under the
   8   applicable legal principles. This Order does not automatically authorize the filing
   9   under seal of material designated under this Order. Instead, the parties must comply
  10   with Local Rule 79-5.1 and this Order if they seek to file anything under seal. This
  11   Order does not govern the use at trial of material designated under this Order.
  12         2.            DESIGNATING PROTECTED MATERIAL
  13         2.1.          Over-Designation Prohibited. Any party or non-party who
  14   designates information or items for protection under this Order as
  15   “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY,”
  16   or “HIGHLY CONFIDENTIAL – SOURCE CODE” (a “designator”) must only
  17   designate specific material that qualifies under the appropriate standards. To the
  18   extent practicable, only those parts of documents, items or oral or written
  19   communications that require protection shall be designated. Designations with a
  20   higher confidentiality level when a lower level would suffice are prohibited. Mass,
  21   indiscriminate, or routinized designations are prohibited. Unjustified designations
  22   expose the designator to sanctions, including the Court’s striking all confidentiality
  23   designations made by that designator. Designation under this Order is allowed only
  24   if the designation is necessary to protect material that, if disclosed to persons not
  25   authorized to view it, would cause competitive or other recognized harm. Material
  26   may not be designated if it has been made public, or if designation is otherwise
  27   unnecessary to protect a secrecy interest. If a designator learns that information or
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   1   items that it designated for protection do not qualify for protection at all or do not
   2   qualify for the level of protection initially asserted, that designator must promptly
   3   notify all parties that it is withdrawing the mistaken designation.
   4         2.2.          Manner and Timing of Designations. Designation under this
   5   Order requires the designator to affix the applicable legend (“CONFIDENTIAL,”
   6   “HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY,” or “HIGHLY
   7   CONFIDENTIAL – SOURCE CODE”) to each page that contains protected
   8   material. For testimony given in deposition or other proceeding, the designator shall
   9   specify all protected testimony and the level of protection being asserted. It may
  10   make that designation during the deposition or proceeding, or may invoke, on the
  11   record or by written notice to all parties on or before the next business day, a right
  12   to have up to 21 days from the deposition or proceeding to make its designation.
  13         2.2.1.        A party or non-party that makes original documents or materials
  14   available for inspection need not designate them for protection until after the
  15   inspecting party has identified which material it would like copied and produced.
  16   During the inspection and before the designation, all material shall be treated as
  17   HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY. After the inspecting
  18   party has identified the documents it wants copied and produced, the producing
  19   party must designate the documents, or portions thereof, that qualify for protection
  20   under this Order.
  21         2.2.2.        Parties shall give advance notice if they expect a deposition or
  22   other proceeding to include designated material so that the other parties can ensure
  23   that only authorized individuals are present at those proceedings when such
  24   material is disclosed or used. The use of a document as an exhibit at a deposition
  25   shall not in any way affect its designation. Transcripts containing designated
  26   material shall have a legend on the title page noting the presence of designated
  27   material, and the title page shall be followed by a list of all pages (including line
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   1   numbers as appropriate) that have been designated, and the level of protection being
   2   asserted. The designator shall inform the court reporter of these requirements. Any
   3   transcript that is prepared before the expiration of the 21-day period for designation
   4   shall be treated during that period as if it had been designated HIGHLY
   5   CONFIDENTIAL – ATTORNEY EYES ONLY unless otherwise agreed. After the
   6   expiration of the 21-day period, the transcript shall be treated only as actually
   7   designated.
   8         2.3.          Inadvertent Failures to Designate. An inadvertent failure to
   9   designate does not, standing alone, waive protection under this Order. Upon timely
  10   assertion or correction of a designation, all recipients must make reasonable efforts
  11   to ensure that the material is treated according to this Order.
  12         3.            CHALLENGING CONFIDENTIALITY DESIGNATIONS
  13         All challenges to confidentiality designations shall proceed under Local Rule
  14   37-1 through Local Rule 37-4.
  15         4.            ACCESS TO DESIGNATED MATERIAL
  16         4.1.          Basic Principles. A receiving party may use designated material
  17   only for this litigation. Designated material may be disclosed only to the categories
  18   of persons and under the conditions described in this Order.
  19         4.2.          Disclosure of CONFIDENTIAL Material Without Further
  20   Approval. Unless otherwise ordered by the Court or permitted in writing by the
  21   designator, a receiving party may disclose any material designated
  22   CONFIDENTIAL only to:
  23         4.2.1.        The receiving party’s outside counsel of record in this action
  24   and employees of outside counsel of record to whom disclosure is reasonably
  25   necessary;
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   1         4.2.2.        The officers, directors, and employees of the receiving party to
   2   whom disclosure is reasonably necessary, and who have signed the Agreement to
   3   Be Bound (Exhibit E-1);
   4         4.2.3.        Experts and their staff retained by the receiving party’s outside
   5   counsel of record to whom disclosure is reasonably necessary, provided the experts
   6   have signed the Agreement to Be Bound (Exhibit E-1);
   7         4.2.4.        The Court and its personnel, and any mediator(s) selected by the
   8   parties;
   9         4.2.5.        Outside court reporters and their staff, professional jury or trial
  10   consultants, and professional vendors to whom disclosure is reasonably necessary,
  11   and who have signed the Agreement to Be Bound (Exhibit E-1);
  12         4.2.6.        During their depositions, witnesses in the action to whom
  13   disclosure is reasonably necessary and who have signed the Agreement to Be
  14   Bound (Exhibit E-1); and
  15         4.2.7.        The author or recipient of a document containing the material, or
  16   a custodian or other person who otherwise possessed or knew the information.
  17         4.2.8.        To the extent reasonably necessary to conduct mock trials or
  18   focus group exercises, material designated CONFIDENTIAL may be shown to
  19   mock trial or focus group participants provided: (a) the participants are required to
  20   sign a confidentiality agreement to participate in the study; (b) the
  21   CONFIDENTIAL material is only displayed in presentation materials by counsel
  22   and not provided in any material given to the participants as a handout; (c) the
  23   participants are not permitted to retain any materials from the exercise, other than a
  24   copy of their confidentiality agreement and documents related to payment for their
  25   participation in the exercise.
  26         4.3.          Disclosure of HIGHLY CONFIDENTIAL – ATTORNEY
  27   EYES ONLY and HIGHLY CONFIDENTIAL – SOURCE CODE Material
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   1   Without Further Approval. Unless permitted in writing by the designator, a
   2   receiving party may disclose material designated HIGHLY CONFIDENTIAL –
   3   ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE
   4   without further approval only to:
   5         4.3.1.        The receiving party’s outside counsel of record in this action
   6   and employees of outside counsel of record to whom it is reasonably necessary to
   7   disclose the information;
   8         4.3.2.        The Court and its personnel, and any mediator(s) selected by the
   9   parties;
  10         4.3.3.        Outside court reporters and their staff, professional jury or trial
  11   consultants, and professional vendors to whom disclosure is reasonably necessary,
  12   and who have signed the Agreement to Be Bound (Exhibit E-1); and
  13         4.3.4.        The author or recipient of a document containing the material, or
  14   a custodian or other person who otherwise possessed or knew the information.
  15         4.3.5.        To the extent reasonably necessary to conduct mock trials or
  16   focus group exercises, material designated HIGHLY CONFIDENTIAL –
  17   ATTORNEY EYES ONLY and HIGHLY CONFIDENTIAL – SOURCE CODE
  18   may be shown to mock trial or focus group participants provided: (a) the
  19   participants are required to sign a confidentiality agreement to participate in the
  20   study; (b) the HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY and
  21   HIGHLY CONFIDENTIAL – SOURCE CODE material is only displayed in
  22   presentation materials by counsel and not provided in any material given to the
  23   participants as a handout; (c) the participants are not permitted to retain any
  24   materials from the exercise, other than a copy of their confidentiality agreement and
  25   documents related to payment for their participation in the exercise.
  26         4.4.          Procedures for Approving or Objecting to Disclosure of
  27   HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY or HIGHLY
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   1   CONFIDENTIAL – SOURCE CODE Material to Experts. Unless agreed to in
   2   writing by the designator:
   3         4.4.1.        A party seeking to disclose to an expert retained by outside
   4   counsel of record any information or item that has been designated HIGHLY
   5   CONFIDENTIAL – ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL –
   6   SOURCE CODE must first make a written request to the designator that (1) sets
   7   forth the full name of the expert and the city and state of his or her primary
   8   residence, (2) attaches a copy of the expert’s current resume, (3) identifies the
   9   expert’s current employer(s), (4) identifies each person or entity from whom the
  10   expert has received compensation or funding for work in his or her areas of
  11   expertise (including in connection with litigation) in the past five years, and (5)
  12   identifies (by name and number of the case, filing date, and location of court) any
  13   litigation where the expert has offered expert testimony, including by declaration,
  14   report or testimony at deposition or trial, in the past five years. If the expert believes
  15   any of this information at (3) - (5) is subject to a confidentiality obligation to a third
  16   party, then the expert should provide whatever information the expert believes can
  17   be disclosed without violating any confidentiality agreements, and the party seeking
  18   to disclose the information to the expert shall be available to meet and confer with
  19   the designator regarding any such confidentiality obligations.
  20         4.4.2.        A party that makes a request and provides the information
  21   specified in paragraphs 4.4.1 may disclose the designated material to the identified
  22   expert unless, within seven days of delivering the request, the party receives a
  23   written objection from the designator providing detailed grounds for the objection.
  24         4.4.3.        All challenges to objections from the designator shall proceed
  25   under Local Rule 37-1 through Local Rule 37-4.
  26         4.4.4.        Experts disclosed under paragraphs 4.4.1-4.4.2 may have staff
  27   assist them in this matter that may receive any information or item that has been
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   1   designated CONFIDENTIAL, HIGHLY CONFIDENTIAL – ATTORNEY EYES
   2   ONLY or HIGHLY CONFIDENTIAL – SOURCE CODE. The staff need not be
   3   identified to the designator, but must comply with and be bound by all the terms of
   4   this Protective Order.
   5         5.            SOURCE CODE
   6         5.1.          Designation of Source Code. If production of source code is
   7   necessary, a party may designate it as HIGHLY CONFIDENTIAL – SOURCE
   8   CODE if it is, or includes, confidential, proprietary, or trade secret source code.
   9         5.2.          Location and Supervision of Inspection. Any HIGHLY
  10   CONFIDENTIAL – SOURCE CODE produced in discovery shall be made
  11   available for inspection, in a format allowing it to be reasonably reviewed and
  12   searched, during normal business hours or at other mutually agreeable times, at an
  13   office of the designating party’s counsel in California or another mutually agreeable
  14   location. The parties agree that source code will be hosted in the United States.
  15   The source code shall be made available for inspection on a secured computer in a
  16   secured room, and the inspecting party shall not copy, remove or otherwise transfer
  17   any portion of the source code onto any recordable media or recordable device. An
  18   extra monitor, keyboard, and a mouse will be provided by the designator. At the
  19   inspecting party’s request, the designator will accommodate reasonable requests to
  20   install additional review programs on the secure computer to facilitate review of the
  21   source code, but such programs may not be used to copy, remove, or otherwise
  22   transfer any portion of the source code onto any recordable media or recordable
  23   device. The inspecting party will be responsible for obtaining the any software
  24   licenses required for installing the additional software. The designator may visually
  25   monitor the activities of the inspecting party’s representatives during any source
  26   code review, but only to ensure that there is no unauthorized recording, copying or
  27   transmission of the source code. The designator shall not monitor in a manner that
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   1   reveals the inspecting party’s inspection process and work product, including
   2   conversations between representatives of the inspecting party and the inspecting
   3   party’s decisions regarding which files to inspect, how long they were inspected, or
   4   which files were viewed when notes were taken. Upon request by the inspecting
   5   party reasonably in advance of a deposition, the designator will make the source
   6   code available on a secured computer for use at the deposition.
   7         5.3.          Paper Copies of Source Code Excerpts. The inspecting party
   8   may request paper copies of limited portions of source code that are reasonably
   9   necessary for the preparation of court filings, pleadings, expert reports, other papers
  10   or for deposition or trial. The designator shall provide three (3) copies of all such
  11   source code in paper form promptly after the request is made, including Bates
  12   numbers and the label “HIGHLY CONFIDENTIAL – SOURCE CODE.”
  13         5.4.          Access Record. The inspecting party shall maintain a record of
  14   any individual who has inspected any portion of the source code in electronic or
  15   paper form, and shall maintain all paper copies of any printed portions of the source
  16   code in a secured, locked area. The inspecting party shall not convert any of the
  17   information contained in the paper copies into any electronic format other than for
  18   the preparation of a pleading, exhibit, expert report, discovery document, deposition
  19   transcript, or other Court document. Any paper copies used during a deposition
  20   shall be retrieved at the end of each day and must not be left with a court reporter or
  21   any other unauthorized individual.
  22         6.            PROTECTED MATERIAL SUBPOENAED OR
  23   ORDERED PRODUCED IN OTHER LITIGATION
  24         6.1.          Subpoenas and Court Orders. This Order in no way excuses
  25   noncompliance with a lawful subpoena or court order. The purpose of the duties
  26   described in this section is to alert the interested parties to the existence of this
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                                                                    (MODIFIED) PROTECTIVE ORDER
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    1   Order and to give the designator an opportunity to protect its confidentiality
    2   interests in the court where the subpoena or order issued.
    3         6.2.          Notification Requirement. If a party is served with a subpoena
    4   or a court order issued in other litigation that compels disclosure of any information
    5   or items received by that party in this action and designated in this action as
    6   CONFIDENTIAL, HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY, or
    7   HIGHLY CONFIDENTIAL – SOURCE CODE, that party must do the following.
    8         6.2.1.        Promptly notify the designator in writing. Such notification shall
    9   include a copy of the subpoena or court order.
  10          6.2.2.        Promptly notify in writing the party who caused the subpoena or
  11    order to issue in the other litigation that some or all of the material covered by the
  12    subpoena or order is subject to this Order. Such notification shall include a copy of
  13    this Order.
  14          6.2.3.        Cooperate with all reasonable procedures sought by the
  15    designator whose material may be affected.
  16          6.3.          Wait For Resolution of Protective Order. If the designator
  17    promptly seeks a protective order, the party served with the subpoena or court order
  18    shall not produce any information designated in this action as CONFIDENTIAL,
  19    HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY or HIGHLY
  20    CONFIDENTIAL – SOURCE CODE before a determination by the court where
  21    the subpoena or order issued, unless the party has obtained the designator’s
  22    permission. The designator shall bear the burden and expense of seeking protection
  23    of its confidential material in that court.
  24          7.            UNAUTHORIZED DISCLOSURE OF DESIGNATED
  25    MATERIAL
  26          If a receiving party learns that, by inadvertence or otherwise, it has disclosed
  27    designated material to any person or in any circumstance not authorized under this
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    1   Order, it must immediately (1) notify in writing the designator of the unauthorized
    2   disclosures, (2) use its best efforts to retrieve all unauthorized copies of the
    3   designated material, (3) inform the person or persons to whom unauthorized
    4   disclosures were made of all the terms of this Order, and (4) use reasonable efforts
    5   to have such person or persons execute the Agreement to Be Bound (Exhibit E-1).
    6         8.            INADVERTENT PRODUCTION OF PRIVILEGED OR
    7   OTHERWISE PROTECTED MATERIAL
    8         When a producing party gives notice that certain inadvertently produced
    9   material is subject to a claim of privilege or other protection, the obligations of the
  10    receiving parties are those set forth in Fed. R. Civ. P. 26(b)(5)(B). This provision is
  11    not intended to modify whatever procedure may be established in an e-discovery
  12    order that provides for production without prior privilege review pursuant to Fed.
  13    R. Evid. 502(d) and (e).
  14          9.            FILING UNDER SEAL
  15          Without written permission from the designator or a Court order, a party may
  16    not file in the public record in this action any designated material. A party seeking
  17    to file under seal any designated material must comply with Local Rule 79-5.
  18    Filings may be made under seal only pursuant to a court order authorizing the
  19    sealing of the specific material at issue. The fact that a document has been
  20    designated under this Order is insufficient to justify filing under seal. Instead,
  21    parties must explain the basis for confidentiality of each document sought to be
  22    filed under seal. Because a party other than the designator will often be seeking to
  23    file designated material, cooperation between the parties in preparing, and in
  24    reducing the number and extent of, requests for under seal filing is essential.
  25    Accordingly, counsel are ordered to meet and confer in person or by telephone at
  26    least three (3) calendar days prior to the filing of an application wherein the basis
  27    for the sealing is that it has been deemed confidential by the other party. Not later
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    1   than two (2) calendar days after the meet and confer process, the opposing party
    2   shall confirm whether such information shall be designated as confidential or
    3   whether it can be made available to the public. Such an application shall contain the
    4   dates and method by which the parties met and conferred otherwise it will be
    5   denied without prejudice to an amended application being filed after counsel have
    6   completed this process. If a receiving party’s request to file designated material
    7   under seal pursuant to Local Rule 79-5.1 is denied by the Court, then the receiving
    8   party may file the material in the public record unless (1) the designator seeks
    9   reconsideration within four (4) days of the denial, or (2) as otherwise instructed by
  10    the Court. See Dkt. No. 10, sec. 11.
  11          10.           FINAL DISPOSITION
  12          Within 60 days after the final disposition of this action, each party and
  13    recipients of designated material shall return all designated material to the
  14    designator or destroy such material, including all copies, abstracts, compilations,
  15    summaries and any other format reproducing or capturing any designated material.
  16    The receiving party must submit a written certification to the designator by the 60-
  17    day deadline that (1) identifies (by category, where appropriate) all the designated
  18    material that was returned or destroyed, and (2) affirms that the receiving party has
  19    not retained any copies, abstracts, compilations, summaries or any other format
  20    reproducing or capturing any of the designated material. This provision shall not
  21    prevent counsel from retaining an archival copy of all pleadings, motion papers,
  22    trial, deposition and hearing transcripts, legal memoranda, correspondence,
  23    deposition and trial exhibits, expert reports, attorney work product, and consultant
  24    and expert work product, even if such materials contain designated material. Any
  25    such archival copies remain subject to this Order.
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    1        IT IS SO ORDERED.
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    3   DATED: November 18, 2021             ________________________________
                                                  /s/ Autumn D. Spaeth
                                             HONORABLE AUTUMN D. SPAETH
    4                                        United States Magistrate Judge
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    1                                       EXHIBIT E-1
    2                             AGREEMENT TO BE BOUND
    3         I, _____________________________ [print or type full name], of
    4   _________________ [print or type full address], declare under penalty of perjury
    5   that I have read in its entirety and understand the Protective Order that was issued
    6   by the United States District Court for the Central District of California on _______
    7   [date] in the case of SEMICONDUCTOR ENERGY LABORATORY CO., LTD.
    8   v. TCL CHINA STAR OPTOELECTRONICS TECHNOLOGY CO., LTD., ET
    9   AL. Case No. 8:21ícví00554íJAKíADS. I agree to comply with and to be bound
  10    by all the terms of this Protective Order, and I understand and acknowledge that
  11    failure to so comply could expose me to sanctions and punishment for contempt. I
  12    solemnly promise that I will not disclose in any manner any information or item
  13    that is subject to this Protective Order to any person or entity except in strict
  14    compliance with this Order.
  15          I further agree to submit to the jurisdiction of the United States District Court
  16    for the Central District of California for the purpose of enforcing this Order, even if
  17    such enforcement proceedings occur after termination of this action.
  18          I hereby appoint __________________________ [print or type full name] of
  19    _______________________________________ [print or type full address and
  20    telephone number] as my California agent for service of process in connection with
  21    this action or any proceedings related to enforcement of this Order.
  22          Date: ___________________________
  23          City and State where sworn and signed: _____________________________
  24
  25          Printed name: ___________________________________ [printed name]
  26
  27          Signature: __________________________________________ [signature]
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                                                                   (MODIFIED) PROTECTIVE ORDER
                                                   14                      8:21-CV-00554-JAK-ADS
